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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

  In re:                              )
                                      )
  TERRY LEE EVANSON                   )     Case No. 13-19032 MER
  LYNETTE PEARCE EVANSON,             )     Chapter 11
                                      )
              Debtors.                )
  _____________________________________________________________________________

       ORDER GRANTING APPLICATION TO EMPLOY SENDER WASSERMAN
   WADSWORTH, P.C. AS SPECIAL COUNSEL FOR THE DEBTORS-IN-POSSESSION
  ______________________________________________________________________________

          THE COURT, having examined the Debtors’ Application to Employ Sender Wasserman
  Wadsworth, P.C. as Special Counsel for the Debtors-in-Possession and the Affidavit in support
  thereof, and it appearing that the law firm of Sender Wasserman Wadsworth, P.C., the proposed
  attorneys, are duly admitted to practice in this Court, and the Court being satisfied that the law firm
  of Sender Wasserman Wadsworth, P.C. represents no interest adverse to the Debtors and the
  creditors to the estate, nor do said attorneys represent any interest adverse to the estate in the matters
  upon which they are to be engaged, that their appointment is necessary and would be in the best
  interests of the estate, hereby

       ORDERS that the Debtor is authorized to employ the law firm of Sender Wasserman
  Wadsworth, P.C., nunc pro tunc September 29, 2016 to represent the Debtors as special counsel, and

        FURTHER ORDERS that the retainer in the amount of $5,000.00 is approved. Sender
  Wasserman Wadsworth, P.C. shall make application to the Court for payment of fees and expenses.

           DONE AND SIGNED this _____ day of _____________________, 2016.

                                                  BY THE COURT:



                                                  United States Bankruptcy Judge
